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                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
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11   MARIA G. HUERTA,                        Case No. 2:23-cv-04698-MAA
12                 Plaintiff,                JUDGMENT
13
                   v.
14
     MARTIN O’MALLEY,
15   Commissioner of Social Security,
16
                   Defendant.
17
18
19         In accordance with the Memorandum Decision and Order Reversing Decision
20   of the Commissioner and Remanding for Further Administrative Proceedings filed
21   herewith,
22         IT IS HEREBY ADJUDGED that the decision of the Commissioner of
23   Social Security is reversed and that this matter is remanded for further
24   administrative proceedings pursuant to sentence four of 42 U.S.C. § 405(g).
25
26   DATED: June 28, 2024
                                            HONORABLE MARIA A. AUDERO
27
                                            UNITED STATES MAGISTRATE JUDGE
28
